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ABRAMSON & DENENBERG, P.c.

BY; ALAN E. DENENBERG, ESQUIRE
u)ENTIFICATIoN N0= 53603

1315 WALNUT sTREET, 12"' FL00R
PHILADELPHIA, PA 19107

(215) 546-1345

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PAMELA MINNICH, as ADMINISTRATRIX

of the ESTATE OF DAVID L. MINNICH
11 W. JEFFERSON ST.
MEDIA, PA 19063

Plaintiff

V.

MONTGOMERY COUNTY
P.O. BOX 218
NORRISTOWN, PA 19401
and
PRIME CARE MEDICAL, INC.
3940 LOCUST LN.
HARRISBURG, PA 17109
and
CORRECTIONAL MEDICAL CARE
653 SKIPPACK PIKE, SUITE 118
BLUE BELL, PA
and
MARGARET CARRILLO, MD
MEDICAL DIRECTOR FOR
PRIME CARE MEDICAL, INC. and/or
CORRECTIONAL MEDICAL CARE
and
KATHLEEN ROONEY
MEDICAL STAFF EMPLOYEE
PRIME CARE MEDICAL, INC. and/or
CORRECTIONAL MEDICAL CARE
and
TARA ARCHER
MEDICAL STAFF EMPLOYEE
PRIME CARE MEDICAL, INC. and/or
CORRECTIONAL MEDICAL CARE
and
DANIELLE QUILL, MA

: CIVIL ACTION
: JURY TRIAL DEMANDED

: No. 14-7236

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MEDICAL STAFF EMPLOYEE and/or

CORRECTIONAL MEDICAL CARE
and

SARAH HENDERSON, RN

MEDICAL STAFF EMPLOYEE

PRIME CARE MEDICAL, INC. and/or

CORRECTIONAL MEDICAL CARE
and

MARY RINEHART, RN

MEDICAL STAFF EMPLOYEE

PRIME CARE MEDICAL, INC. and/or

CORRECTIONAL MEDICAL CARE
and

ROSEMARY SIMPSON, LPN

MEDICAL STAFF EMPLOYEE

PRIME CARE MEDICAL, INC. and/or

CORRECTIONAL MEDICAL CARE
and

NURSE JOHN/JANE DOE #1-5

MEDICAL STAFF EMPLOYEE

PRIME CARE MEDICAL, INC. and/or

CORRECTIONAL MEDICAL CARE
and

CORRECTIONAL OFFICERS

JOHN/JANE DOE

MEDICAL STAFF EMPLOYEE

P.O. BOX 218

NORRISTOWN, PA 19401

Defendants

 

AMENDED COMPLAINT

I. INTRODUCTION

1. Plaintiff brings the action for damages pursuant 42 U.S.C. § 1983 and the

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Fourteenth Amendment of the United States Constitution, as Well as the statutory and

common laws of the Commonwealth of Pennsylvania as the result of the death of her

husband, David Minnich, While incarcerated as a pretrial detainee at Montgomery County

Correctional Facility ("MCCF").

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II. JURISDICTION and VENUE

2. The court has jurisdiction over the Federal LaW Claims pursuant to 28 U.S.C.
§1331 and §1343 and jurisdiction over the State LaW Claims pursuant to 28 U.S.C. § 1367 and
the principals of pendant and ancillary jurisdiction.

3. Venue is proper under 28 U.S.C. §1391(b) because the cause of action upon
Which the complaint is based arose in Eagleville, Pennsylvania, Within Montgomery County,

Which is in the Eastem District of Pennsylvania.

III. PARTIES

4. Plaintiff, Pamela Minnich, is adult citizen of the Commonwealth of
Pennsylvania residing as captioned, and Was at times material hereto the Wife of the
decedent, David Minnich.

5. Plaintiff, Pamela Minnich, is the administrator of the estate of her
deceased husband, David Minnich, and the sole heir of that estate.

6. Defendant, Montgomery County, is an entity organized and existing under the
laws of the CommonWealth of Pennsylvania, Which maintains a central office and/or
principal place of business located as captioned.

7. At all material times, defendant, Montgomery County Was charged With the
responsibility of providing adequate medical care to the pretrial detainees/inmates housed at
MCCF, including the decedent, David Minnich, and delegated that constitutional duty to
Defendants, Prime Care Medical, Inc. ("PMC") and/or Correctional Medical Care ("CMC"),
and its/their employees

8. Defendant, PMC and/or CMC is/are corporation(s) With its/their primary

location as set forth above. At all times material, PMC and/or CMC had a contract With

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MCCF to hire, train and supervise medical/psychiatric personnel and to establish related
procedures and policies Within the Montgomery County prison system, and to provide
constitutionally adequate medical care to persons incarcerated at MCCF, including the

decedent, David Minnich.

9. At all time material hereto, Defendant, PMC and/or CMC acted under of
color of state law, in joint participation With Defendant, Montgomery County to provide
medical care to inmates at MCCF, and Were fulfilling a traditional governmental
function.

10. At all material times, Defendant, PMC and/or CMC Was/Were a state
actor(s).

11. At all material times, Defendant, PMC and/or CMC, acted or failed to act
by and through its/their agents, servants, and/or employees, then and there acting Within
the course and scope of their agency or employment.

12. Defendant, Margaret Carrillo, M.D., Was at all material times an adult
individual and resident of the Commonwealth of Pennsylvania Who Was the Medical
Director for the Defendant, PMC and/or CMC and Was responsible for overseeing and for
the hiring, training, supervision and discipline of all medical staff at the George Hill
Correctional Facility, including Defendants, Kathleen Rooney, Tara Archer, Danielle
Quill, MA, Sarah Henderson, RN, Mary Rinehart, RN, Rosemary Simpson, LPN and
Nurse John/Jane Doe #'s 1-5.

13. Defendant, Margaret Carrillo, M.D., along With Defendants Kathleen
Rooney, Tara Archer, Danielle Quill, MA, Sarah Henderson, RN, Mary Rinehart, RN,
Rcsemary Simpson, LPN and Nurse John/Jane Doe #'s 1-5, Were responsible for
providing the medical care to pretrial detainees/inmates at MCCF, including the

decedent, David Minnich.

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14. Defendants Kathleen Rooney, Tara Archer, Danielle Quill, MA, Sarah
Henderson, RN, Mary Rinehart, RN, Rosemary Simpson, LPN and Nurse John/Jane Doe
#'s 1=5 are adult individuals and resident of the Commonwealth of Pennsylvania, who at
all material time were employed as health care providers working at MCCF.

15. Defendants, Margaret Carrillo, M.D., along with Defendants Kathleen
Rooney, Tara Archer, Danielle Quill, MA, Sarah Henderson, RN, Mary Rinehart, RN,
Rosemary Simpson, LPN and Nurse John/Jane Doe #'s 1-5, were at times material hereto
acting under color of state law and are being sued in their individual capacity.

16. Defendants Correctional Officers John/Jane Doe are adult individuals and
residents of the Commonwealth of Pennsylvania, who were at all material times were
employed by MCCF, and Defendant Montgomery County.

17. Defendants Correctional Officers John/Jane Doe were at times material
hereto acting under color of state law and are being sued in their individual capacity.

18. At all material times, all individually named Defendants acted in concert,
pursuant to an agreement and/or policy of Montgomery County and/or PMC/CMC to
cause harm to the Plaintiff by denying him adequate medical care.

III. OPERATIVE FACTS

19. On or about October 16, 2012, David Minnich was arrested on multiple
counts of corruption of a minor, and indecent sexual assault of persons under the age of
13 and under the age of 16, along with aggravated indecent assault of a child.

20. David Minnich was given a 8500,000 bail, which he could not make, and
taken to MCCF, where he was to be housed as a pretrial detainee pending trial.

21. Mr. Minnich, who had never been incarcerated before, was housed in
administrative segregation, and immediately began experiencing symptoms of severe
anxiety, including shaking and becoming tearful.

22. He came under the care of Defendants, Margaret Carrillo, M.D., along

with Defendants Kathleen Rooney, Tara Archer, Danielle Quill, MA, Sarah Henderson,

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RN, Mary Rinehart, RN, Rosemary Simpson, LPN and Nurse John/Jane Doe #'s 1-5, and
was scheduled to see a psychiatrist; however, this appointment was deliberately and/or
intentionally delayed and postponed by all of the aforementioned Defendants, along with
Defendants Correctional Officers John/Jane Doe.

23. Because his mental/emotional condition worsened, Mr. Minnich became
"depressed" and even more "anxious", and informed all of the individually named
defendants of his condition.

24. Notwithstanding the fact that Mr. Minnich had informed all of the
aforementioned Defendants of his worsening mental state, nothing was done to address
his growing depression and anxiety.

25. Defendants had first noted on October 23, 2012 that Mr. Minnich was in
need of psychiatric treatment, and on December 3, 2012, Mr. Minnich had still not been
seen by a psychiatrist.

26. When finally seen by Kathleen Rooney on December 3, 2_012, Defendants
intentionally and/or with deliberate indifference, ignored Mr. Minnich's serve depression
and obvious signs of suicide, and refused to provide him any psychiatric medication or
care and treatment, despite the fact that the need for such medical care and treatment was
obvious.

27. Defendant Kathleen Rooney was not a psychiatrist, but only holds a
masters in social work, and was not qualified to determine whether the Plaintiff was
suicidal, and under State Law would not have been permitted to prescribe the Plaintiff
any needed medications

28. In addition to Defendants' knowledge of Mra Minnich's growing
depression, and the deterioration of his mental/emotional condition, Defendants were also
aware that Mr. Minnich was a former drug and alcohol abuser, that he had been accused
of committing a sexual crime against a minor, that he was facing serious jail time, and

that he had never been incarcerated before, all of which were red flags informing

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Defendants that Mr. Minnich was particularly vulnerable to suicide and therefore a high
suicide risk.

29. After his December 3, 2012 appointment with Kathleen Rooney, Mr.
Minnich attended a bail reduction hearing, in which he was informed that his bail would
not be reduced, which sent him into an emotional/mental tailspin.

30. The denial of the Plaintiffs bail on December 3, 2012 was another red flag
that put the Defendants on notice that the Plaintiff was particularly vulnerable to suicide
and therefore a high suicide risk.

31. Defendants knew that Mr. Minnich was already in a fragile
mental/emotional state, and that the news about at the bail reduction hearing could be the
straw that broke the camels back, but failed to place him on suicide watch, or provide him
any psychiatric medication or care and treatment.

32. On December 20, 2012, Mr. Minnich killed himself in his jail cell by
hanging himself with a sheet. _

33. At the time that Mr. Minnich killed himself, he was under the care and
treatment of Defendants, Margaret Carrillo, M.D., along with Defendants Kathleen
Rooney, Tara Archer, Danielle Quill, MA, Sarah Henderson, RN, Mary Rinehart, RN,
Rosemary Simpson, LPN and Nurse John/Jane Doe #'s 1-5, all of whom knew that he
was particularly vulnerable to suicide, and that there was a strong likelihood that he
would attempt suicide, yet none of whom took any action to place Mr. Minnich on
suicide watch, or provide him adequate psychiatric medication and care and treatment.

34. The fact that Mr. Minnich was particularly vulnerable to suicide
constitutes a serious medical need.

35. Defendants, Margaret Carrillo, M.D., along with Defendants Kathleen
Rooney, Tara Archer, Danielle Quill, MA, Sarah Henderson, RN, Mary Rinehart, RN,
Rosemary Simpson, LPN and Nurse John/Jane Doe #'s 1-5, and Correctional Officers

John/Jane Doe, were deliberately indifferent to this serious medical need by delaying and

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denying Mr. Minnich access to psychiatric care and treatment, and by providing
inadequate psychiatric care and treatment, resulting in his death.

36. If the aforementioned Defendants had not been deliberately indifferent to
the decedent's serious psychiatric medical needs, he would not have tried, or been able to

commit suicide.

37. The decedent, Mr. Minnich, was confined to a jail cell without adequate
surveillance, supervision, or proper medical and/or psychological/psychiatric treatment
resulting in the hanging and his death.

38. Upon information and belief, other incarcerated detainees had in the past
committed suicide by hanging themselves while under the care and custody of the
aformentioned medical providers and prison officials.

39. Upon information and belief, Defendants knew prior to the
aforementioned date that certain persons, especially persons who were under severe
emotional stress, would exhibit mentally disturbed and/or suicidal behavior that would
require immediate and specialized psychiatric and/or medical treatment and supervision.

40. Upon information and belief, Defendants also knew that safe and effective
means of preventing detainees from attempting or committing suicide existed, including
but not limited to: removal of potential implements used to commit suicide (clothing,
sheets, shoe laces), taped visual monitoring, actual observation on a regular basis (every
15 minutes) and/ or immediate referral of the person to a medical and/or psychiatric
facility instead of leaving the person unhandcuffed in a cell with the implements with

which to commit suicide.

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41. Upon information and belief, as a result of the defendants' actual
knowledge of the decedent's potentially suicidal/ depressed emotional state and his need
for immediate psychiatric treatment and specialized supervision, the failure of defendant,
Montgomery County, to have proper policies, training and supervision related to
detention of suicidal persons, despite the obvious need for such policies, as well as the
deliberate indifference of Defendants, Margaret Carrillo, M.D., along with Defendants
Kathleen Rooney, Tara Archer, Danielle Quill, MA, Sarah Henderson, RN, Mary
Rinehart, RN, Rosemary Simpson, LPN and Nurse John/Jane Doe #'s 1-5, and
Correctional Officers John/Jane Doe, it was a foreseeable consequence that decedent, left
unattended, would attempt to harm himself and impose an immediate threat to his own
safety and well being.

42. Upon information and belief, Defendants Montgomery County, Prime
Care Medical, Inc. ("PMC") and/or Correctional Medical Care ("CMC") had an
unconstitutional custom, practice and/or policy of failing to have adequate suicide screening
procedures, and, in an effort to save money, of failing to have a qualified psychiatrist on
staff to evaluate potentially suicidal inmates such as the Plaintiff, and who could prescribe
any required medication.

43. As a further direct and proximate result of the above deliberate indifference
of Defendants, Margaret Carrillo, M.D., along with Defendants Kathleen Rooney, Tara
Archer, Danielle Quill, MA, Sarah Henderson, RN, Mary Rinehart, RN, Rosemary
Simpson, LPN and Nurse John/Jane Doe #'s 1-5, and Correcticnal Officerv John/Jane
Doe, the decedent, David Minnich, suffered enormous emotional pain and suffering, and

committed suicide thereby suffering a complete loss of earnings and earnings capacity.

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COUNT I - 42 U.S.C. 1983
DUE PROCESS CLAUSE--DELIBERATE INDIFFERENCE TO
KNOW RISK OF SUICIDE
PLAINTIFF v. MARGARET CARRILLO, M.D., KATHLEEN ROONEY. TARA

ARCHER, DANIELLE QUILL, MA, SARAH HENDERSON, RN, MARY
RINEHART. RN, ROSEMARY SIMPSON, LPN AND NURSE JOHN/JANE DOE

#'S 1-5, AND CORRECTIONAL OFFICERS JOHN/JANE DOE

44. All of the preceding paragraphs are incorporated by reference as if more fully
set-forth herein.

45. As alleged above, Defendants Margaret Carrillo, M.D., Kathleen Rooney,
Tara Archer, Danielle Quill, MA, Sarah Henderson, RN, Mary Rinehart, RN, Rosemary
Simpson, LPN and Nurse John/Jane Doe #'s 1-5, and Correctional Officers John/Jane Doe
knew that Mr. Minnich was particularly vulnerable to suicide and that there was a strong
likelihood that he would attempt suicide, and notwithstanding this knowledge of a
significant risk to Mr. Minnich's health and safety, they were deliberately indifferent by
failing to take any action or precaution to prevent Mr. Minnich from killing himself such as
placing him on suicide watch or providing him adequate psychiatric care and treatment.

46. The risk of a suicide attempt by Mr. Minnich was obvious.

47. Defendants intentionally and/or with deliberate indifference ignored this risk
and allowed Mr. Minnich to kill himself.

48. As the direct and proximate result of the above deliberate indifference of
Defendants, Margaret Carrillo, M.D., along with Defendants Kathleen Rooney, Tara Archer,
Danielle Quill, MA, Sarah Henderson, RN, Mary Rinehart5 RN, Rosemary Simpson, LPN
and Nurse John/Jane Doe #'s 1-5, and Correctional Officers John/Jane Doe, Mr. Mitten

killed himself.

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49. The above described actions of the Defendants, Margaret Carrillo, M.D.,
along with Defendants Kathleen Rooney, Tara Archer, Danielle Quill, MA, Sarah
Hendersonj RN, Mary Rineh_art, RN, Rosemary Simpsonj LPN and Nurse John/Jane Doe
#'s 1-5, and Correctional Officers , in their individual capacities, were so malicious,
intentional and reckless and displayed such a reckless indifference to the Plaintiffs rights
and well-being, that the imposition of punitive damages is warranted.

WHEREFORE, pursuant to 42 U.S.C. §1983 and §1988, Plaintiff demands
compensatory and punitive damages against the Defendants, Margaret Carrillo, M.D.,
along with Defendants Kathleen Rooney, Tara Archer, Danielle Quill, MA, Sarah
Henderson, RN, Mary Rinehart, RN, Rosemary Simpson, LPN and Nurse John/Jane Doe
#'s 1-5, jointly and/or severally, in an amount sufficient to fully and adequately compensate
the Plaintiff and punish and deter the defendants, plus interest, costs, attorney's fees and all
other appropriate relief.

COUNT II - 42 U.S.C. 81983 AND 81988
CUSTOM AND POLICY OF UNCONSTITUTIONAL CONDUCT
PLAINTIFF v. MONTGOMERY COUNTY, PMC and/or CMC

5(). All of the preceding paragraphs are incorporated by reference as if more fully
set-forth herein.

51. The Plaintiff believes and therefore avers that the Defendants, Montgomery
County and/or PMC/CMC have adopted and maintained for many years a recognized and
accepted policy, custom, and practice of condoning and/or the acquiescence of the deliberate
indirference to serious medical needs of inmates, and subjecting them to the same type of
treatment to which Plaintiff was subj ected, which policy violates the Eighth and Fourteenth

Amendments of the Constitution of the United States, the Constitution of the

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Commonwealth of Pennsylvania, the laws of the United States and of the Commonwealth of
Pennsylvania and was in violation of 42 U.S.C. § 1983.

52. The aforementioned unconstitutional policy, custom and practice includes
failing to provide adequate policies and procedures for identifying persons who are high
suicide risks, and failing to have adequate policies and procedures for addressing persons
who are suicidal, such as placing them on suicide watch and providing them with adequate
psychiatric medical care and treatment, and failing to staff qualified psychiatrist to evaluate
suicidal inmates and prescribe need care and treatment, including needed medications

53. The aforementioned unconstitutional policy, custom and practice is based on
Defendants desire to save money by not providing the required medical care and treatment
and also a systemic belief that prisoners are manipulative and the psychiatric needs, even
where a person is suicidal, does not warrant medical care and treatment.

54. The Plaintiff believes and therefore avers that the Defendants, Montgomery
County and/or PMC/CMC have adopted and maintained for many years a recognized and
accepted policy, custom, and practice of failing to adequately train prison and medical staff
employees regarding the warning signs of potential suicides, and failing to adequately train
them regarding the necessary precautions to avoid suicides, and of failing to discipline
employees who allow suicides to occur on their watch.

55. The Defendants, Montgomery County and/or PMC/CMC have been
deliberately indifferent to the rights of inmates MCCF to be provided with essential medical
care, which deliberate indifference violates the Plaintiffs rights under the Eighth and

Fourteenth Amendments of the Constitution of the United States, the Constitution of the

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Commonwealth of Pennsylvania, the laws of the United States and of the Commonwealth of

Pennsylvania and was in violation of 42 U.S.C. § 1983.

56. The Plaintiff believes and therefore avers, that at the time of the aforementioned
incident, Defendants, Montgomery County and/or PMC/CMC knew or should have known
of the above described policy and that it deliberately, knowingly, and/or negligently failed to
take measures to stop or limit the policy, including, inter alia, providing proper training,
supervision, and control of the officers, agents, and/or employees of the MCCF and/or
PMC/CMC.

57. By failing to take action to stop or limit the policy and/or by remaining
deliberately indifferent to the systematic abuses which occurred in accordance with and as a
direct and proximate result of the policy, Defendants, Delaware County and/or CEC
Defendants, Montgomery County and/or PMC/CMC condoned, acquiesced in, participated
in, and perpetrated the policy in violation of the Plaintiffs rights under the Eighth and
Fourteenth Amendments of the Constitution of the United States, the Constitution of the
Commonwealth of Pennsylvania, the Laws of the United States and of the Commonwealth
of Pennsylvania, and was in violation of 42 U.S.C. § 1983.

58. The Plaintiff believes and therefore avers that the Defendants, Montgomery
County and/or PMC/CMC have adopted and maintained for many years a recognized and
accepted policy consisting of an inadequate system of review of claims of inadequate
medical care, which system has failed to identify instances of deliberate indifference to

serious medical needs or insure that prisoners serious medical needs are being met.

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WHEREFORE, pursuant to 42 U.S.C. § 1983 and § 1988, Plaintiff demands
compensatory damages against Defendants, Montgomery County and/or PMC/CMC in an
amount sufficient to fully and adequately compensate the Plaintiff, plus interestj costsa
attorney's fees and all other appropriate relief

COUNT III- PENNSYLVANIA LAW

NEGLIGENCE
PLAINTIFF v. PMC and/or CMC MARGARET CARRILLO. M.D.. KATHLEEN

ROONEY, TARA ARCHER, DANIELLE QUILLa MA, SARAH HENDERSONl RN,
MARY RINEHART, RN, ROSEMARY SIMPSON, LPN
AND NURSE JOHN/JANE DOE #'S 1-5

59. All preceding paragraphs are fully incorporated herein by reference

60. At all times relevant hereto, Defendants PMC and/or CMC, Margaret
Carrillo, M.D., Kathleen Rooney, Tara Archer, Danielle Quill, MA, Sarah Henderson,
RN, Mary Rinehart, RN, Rosemary Simpson, LPN and Nurse John/Jane Doe #'s 1-5 had
a duty to comply with generally accepted medical standards of care in their treatment of
Mr. Minnich. See Exhibit "A", Certificate of Merit.

61. Defendants PMC and/or CMC , Margaret Carrillo, M.D., Kathleen
Rooney, Tara Archer, Danielle Quill, MA, Sarah Henderson, RN, Mary Rinehart, RN,
Rosemary Simpson, LPN and Nurse John/Jane Doe #'s 1-5 violated their duty of care to
Mr. Minnich. See Exhibit "A", Certiflcate of Merit.

62. The Defendants violation of their duty of care to Mr. Minnich was a direct
and proximate cause and a substantial factor in bringing about Mr. Minnich's injuries and
death, as set-forth above, and accordingly Defendants are liable to Plaintiff under
Pennsylvania law. See Exhibit "A", Certificate of Merit.

WHEREFORE, pursuant to Pennsylvania law, Plaintiff demands compensatory

damages, jointly and severally, from Defendants PMC and/or CMC, Margaret Carrillo,

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M.D., Kathleen Rooney, Tara Archer, Danielle Quill, MA, Sarah Henderson, RN, Mary
Rinehart, RN, Rosemary Simpson, LPN and Nurse John/Jane Doe #’s 1-5 in an amount in
excess of $l75,000 plus costs, attorney's fees and other appropriate relief.
COUNT IV - WRONGFUL DEATH ACTION
PURSUANT TO 42 U.S.C. § 1983 AND STATE LAW NEGLIGENCE
PLAINTIFF v. ALL DEFENDANTS

63. All preceding paragraphs are fully incorporated herein by reference.

64. Based on Plaintiffs claims under 42 U.S.C. § 1983 and State Law
Negligence, Plaintiff brings this claim for wrongful death.

65. As a direct and proximate result of the aforementioned actions of the
defendants, the decedent, Mr. Minnich, his family and his estate have suffered severe
emotional and pecuniary losses and damages including the following:

(a) an amount which will cover all funeral, burial and estate
administration expenses incurred.

(b) an amount which will fairly and adequately compensate the family
members of the decedent for their loss of such contributions as they would have received
between the time of the death of the decedent and today. This includes all monies that the
decedent would have spent for or given to his family.

(c) an amount which will fairly and adequately compensate his family
for the loss of such contributions as the decedent would have contributed to the support
of his family between today and the end of his normal life expectancy.

(d) an amount which will fairly and adequately compensate his family

for the pecuniary and emotional value of the services, society and comfort that he would

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have given to his family had he lived including such elements as provision of physical
comfort and services and provision of society and comfort.

WHEREFORE, pursuant to 42 U.S.C. § 1983 and Pennsylvania Negligence
Law, plaintiff, the Estate of David Minnich, demands compensatory and punitive
damages against defendants jointly and/or severally, in an amount in excess of One
Hundred Seventy Five Thousand ($175,000.00) Dollars, plus interest, costs, attorney's
fees and delay damages

COUNT V-PENNSYLVANIA SURVIVAL ACT

PURSUANT TO 42 U.S.C. 8 1983 AND STATE LAW NEGLIGENCE

PLAINTIFF v. ALL DEFENDANTS

66. All preceding paragraphs are fully incorporated herein by reference.

67. Based on Plaintiffs claims under 42 U.S.C. § 1983 and State Law
Negligence, Plaintiff brings this survival action.

68. As a direct and proximate result of the aforementioned actions of the
defendants, the decedent, Mr. Minnich, his family and his estate are entitled to damages
which shall include the following:

(1) an award of the total net amount that the decedent would have

earned between the date of his death and today.

(2) an award of the net amount that the decedent would have earned
between today and the natural end of the decedent's life expectancy.
(3) an award of such an amount as will fairly and adequately

compensate the estate for the mental and physical pain and suffering that the decedent

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endured from the moment of the improper treatment by the defendants to the moment of
his death as a foreseeable result of the improper treatment.

WHEREFORE, pursuant to 42 U.S.C. § 1983 and Pennsylvania Law5 the
plaintiff, the Estate of David Minnich, demands compensatory and punitive damages
against defendants jointly and/or severally, in an amount in excess of One Hundred
Seventy-Five Thousand ($175,000.00) Dollars, plus interest, costs, attorney's fees and

delay damages

ABRAMSON & DENENBERG, P.C.

BY:/s/ Alan Denenberg
ALAN E. DENENBERG, ESQ.

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

PAMELA MINNICH, as ADMINISTRATRIX : CIVIL ACTION
of the ESTATE OF DAVID L. MINNICH : JURY TRIAL DEMANDED
Plaintiff :
: No. 14-cv-07236
v. '

MONTGOMERY COUNTY et al.
Defendant

 

CERTIFICATE OF SERVICE
1, Alan E. Denenberg, Esquire, attorney for the plaintiff, hereby certify that on March
16, 2015, 1 served a true and correct copy of Plaintiffs Amended Complaint via the Court's
Electronic Filing System on the following attorney's of record:

Angelo L. Scaricamazza, Jr. Esq.

NAULTY, SCARICAMAZZA & McDEVITT, LLC
1617 JFK Blvd.

750 One Penn Center

Philadelphia, PA 19103

John R. Ninosky, Esquire

Johnson, Duffie Stewart & Weidner
301 Market Street, P.O. Box 109
Lemoyne, PA 17043-0109

Phillip W. Newcomer, Esquire

Office of the Solicitor/Chief Litigation
Montgomery County Courthouse

P.O. Box 31 1

Norristown, PA 19404-0311

Date: March 16, 2015 s/ Alan Denenberg
ALAN DENENBERG, ESQUIRE

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ABRAMsoN & DENENBERG, P.C.

BY= ALAN E. DENENBERG, ESQUIRE
IDENTIFICATION No= 53603

1315 wALNUT sTREET, 12TH FLooR
PHILAI)ELPHIA, PA 19107

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PAMELA MINNICH, as ADMINISTRATRIX : CIVIL ACTION
of the ESTATE OF DAVID L. MINNICH

Plaintiff : No. 14-07236

PRIME CARE MEDICAL, INC.

Defendants

 

CERTIFICATE OF MERIT AS TO PRIME CARE MEDICAL, INC. AND
CORRECTIONAL MEDICAL CARE

1, Alan E. Denenberg, Esquire, certify that:

1. An appropriate licensed professional has supplied a written statement to
the undersigned that there is a basis to conclude that the care, skill or knowledge
exercised or exhibited by the defendants in the treatment, practice or work that is the
subject of this complaint, fell outside acceptable professional standards and that such
conduct was a cause in bringing about the harm; and/ or

2. The claim that the defendants, Prime Care Medical, lnc, and/or
Correctional Medical Care and/or its employees deviated from an acceptable professional
standard is based solely on allegations that other licensed professional for whom these

defendants are responsible deviated from an acceptable professional standard and an

       
 

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appropriate licensed professional supplied a written statement to the undersigned that the
care, skill or knowledge exercised or exhibited by the other licensed professional(s) in the
treatment, practice or work that is the subject of the complaint, fell outside acceptable

professional standards and that such conduct was a cause in bringing about the harm.

 

Date: \;'[ 'CO[ / § g /014/1. ‘r
ALAN E. DENENBERG, E

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